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                                                                                                        E-FILED
                                                                    Monday, 25 November, 2024 05:02:11 PM
                                                                               Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    SPRINGFIELD DIVISION

MAURISA GAY, as Special Representative of            )
the Estate of ANTHONY GAY,                           )
                                                     )
               Plaintiff,                            )       Case No. 19-CV-1133
                                                     )
v.                                                   )
                                                     )
JOHN BALDWIN, et al.,                                )       Judge: Sue E. Myerscough
                                                     )
               Defendants.


               IDOC DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S
                       UNTIMELY WITNESS DISCLOSURES

       Defendants John Baldwin, Sylvia Butler, Dr. Jamie Chess, Dr. Melvin Hinton, Rob

Jeffreys, Terri Kennedy, Michael Melvin, Sonja Nicklaus, Shane Reister, Emily Ruskin, Jeff Sims,

John Varga, and Justin Wilks (collectively, the IDOC Defendants), move to strike Plaintiff’s

untimely witness disclosures pursuant to Federal Rule of Civil Procedure 37(c)(1), and state as

follows:

       1.      Anthony Gay filed this lawsuit in October 2018, alleging violations of his federal

constitutional and statutory rights while incarcerated in the Illinois Department of Corrections.

Fact discovery closed on March 31, 2023, except for certain specific discovery to be completed

after the closure deadline, including a site inspection and a court-ordered Rule 30(b)(6) deposition.

(See Text Order, Mar. 13, 2023.)

       2.      Anthony Gay died on August 17, 2024. On September 26, 2024, this Court granted

a motion to substitute Anthony Gay’s adult daughter, Maurisa Gay, as plaintiff in this matter. (See

Text Order, Sept. 26, 2024.)

       3.      On September 30 and November 11, 2024, Plaintiff served supplemental Rule

26(a)(1) disclosures listing, for the first time, five additional fact witnesses who purportedly have


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discoverable information about her pending claims. (Ex. 1, Pl’s Supp. Rule 26 Disclosure, Sept.

30, 2024; Ex. 2, Pl’s Supp. Rule 26 Disclosure, Nov. 11, 2024.) The untimely disclosures generally

fall into two categories: (i) three of Anthony Gay’s former prison associates to discuss Gay’s

incarceration and prison-related issues, and (ii) two of Anthony Gay’s family members (though

Plaintiff has not specified their exact relationship to him) to discuss his post-release life.

       4.      The IDOC Defendants objected to the late disclosures.              (See Ex. 3, Email

Correspondence.) They noted, among other things, that Plaintiff’s untimely disclosures failed to

meet the standard outlined in Federal Rule of Civil Procedure 37 for late disclosures, and that the

disclosures were neither substantially justified nor harmless. Defendants also explained that Mr.

Gay and his counsel must have been well-aware of each of the five newly disclosed individuals

during fact discovery, given his familial relationship with some and apparent long-time prison

relationship with others, and that these witnesses could and should have been timely disclosed if

they possessed discoverable information, notwithstanding Mr. Gay’s death. And while Plaintiff

claimed that the disclosures would only go to damages-related issues (see Ex. 3), Defendants also

noted that the nature of the disclosures, and the topics therein, would undoubtedly touch on

liability-related issues. IDOC Defendants now move to strike all five witnesses.

       5.      Federal Rule of Civil Procedure 37(c)(1) prohibits parties from using information

or witnesses if they fail to provide information or identify witnesses as required by Rule 26, unless

the failure was substantially justified or is harmless. Fed. R. Civ. P. 37(c)(1). This Court may

impose other appropriate sanctions, including, but not limited to, prohibiting parties from

introducing matters into evidence, striking pleadings, or even dismissing an action in whole or

part. Fed. R. Civ. P. 37(c)(1)(C), (b)(2)(A). “The exclusion of non-disclosed evidence is

mandatory under Rule 37(c)(1) unless non-disclosure was justified or harmless.” Rossi v. City of

Chicago, 790 F.3d 729, 738 (7th Cir. 2015) (quotations omitted); see also Allied World Specialty

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Ins. Co. v. SIU Physicians & Surgeons, Inc., No. 17-CV-3139, 2021 U.S. Dist. LEXIS 61536, *5

(C.D. Ill. Mar. 30, 2021) (Myerscough, J.) (quoting Rossi’s mandate).

       6.      The Seventh Circuit established four factors for assessing whether a party’s non-

disclosure was substantially justified or harmless: (1) the prejudice or surprise to the party against

whom the evidence is offered; (2) the ability of the party to cure the prejudice; (3) the likelihood

of disruption to the trial; and (4) the bad faith or willfulness involved in not disclosing the evidence

sooner. David v. Caterpillar, 324 F.3d 851, 857 (7th Cir. 2003); see also Allied World Specialty

Ins. Co., 2021 U.S. Dist. LEXIS 61536 at *10. At least three of the four factors favor striking

Plaintiff’s untimely disclosures.

       7.      First, IDOC Defendants will suffer prejudice from Plaintiff’s surprise disclosures.

IDOC Defendants’ summary judgment motion is already on file, with their reply due to be filed in

the coming weeks, and trial preparations are already underway. In addition to their summary

judgment reply, Daubert motions, motions in limine, and other pre-trial obligations, the IDOC

Defendants would now have to investigate and depose five newly disclosed witnesses on a range

of topics, prepare supplemental and rebuttal disclosures, consult again with expert witness (and

perhaps re-depose them), and likely engage in supplemental summary judgment briefing, resulting

in a “domino effect” of events in violation of prior discovery orders.

       Moreover, the new witnesses will undoubtedly touch on liability-related issues, not just

damages as Plaintiff has suggested. For example, the prison-related witness disclosures include

topics about “the things Mr. Gay and correctional staff said and did over years of segregation,”

“information about other prisoners who, like Mr. Gay, were also held in extended segregation,”

“the conditions and nature of segregation,” and more. (Ex. 1, ¶¶ 1-2; Ex. 2, ¶ 1.) These subjects

are not just damages-related issues, and will necessarily include discussion about the IDOC

Defendants and the conditions of Anthony Gay’s confinement. Likewise, Plaintiff’s disclosures

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for Anthony Gay’s supplemental familial witnesses do not specify their relationship or provide

meaningful substance about their discoverable information. Instead, they are simply disclosed as

“family members” who will testify about his mental health, activities after release, and the impact

of segregation on Mr. Gay, all topics that may touch on the IDOC Defendants’ alleged liability.1

       Given the substance and timing of Plaintiff’s disclosures, including one that came after the

IDOC Defendants filed their summary judgment motion, Defendants will suffer significant

prejudice from having to properly vet the new witnesses during summary judgment and pre-trial

preparations, and from the substance of their expected testimony.         Even if Plaintiff’s late

disclosures were somehow justified by Anthony Gay’s passing, the prejudice to the IDOC

Defendants substantially outweighs the need for any new witnesses so long after discovery closed

and given the current posture of the case. The timing and substance of the untimely disclosures

threatens considerable prejudice to the IDOC Defendants, so the disclosures should be stricken.

       8.      Second, and relatedly, the prejudice to the IDOC Defendants cannot be cured.

While Plaintiff has offered to present the witnesses for depositions, any discovery this close to

trial, and in the midst of summary judgment briefing and pre-trial preparations, threatens valuable

party and counsel time and may necessitate changes in defense strategy, as well as expert opinions.

IDOC Defendants also lack any ability to disclose rebuttal witnesses or evidence in response to

future depositions or investigations into Plaintiff’s new witnesses. Just recently in the Northern

District of Illinois, a court struck untimely witness disclosures based on Rule 37, and rejected an

argument that fact discovery can be simply re-opened to allow depositions of new witnesses. Dunn



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  Plaintiff’s scant disclosures for the familial witnesses do not specify their relationships to
Anthony Gay or very much detail about the discoverable information they possess. Defense
counsel requested that Plaintiff supplement the disclosures with information about their
relationship to Mr. Gay and more fulsome descriptions of their proposed testimony. No response
or supplemental disclosures have been provided.

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v. Brown, No. 20-CV-5645, 2022 U.S. Dist. LEXIS 216 (N.D. Ill. Jan. 3, 2022) (granting a motion

to strike witnesses disclosed a week late). The court noted that a “[l]ate disclosure is not harmless

within the meaning of Rule 37 simply because there is time to reopen or to extend discovery. If

that were the determining factor, no court could preclude expert or other testimony” disclosed in

violation of discovery orders. Id. at *7-8 (quoting Hard Surface Sols., Inc. v. Sherwin-Williams

Co., 271 F.R.D. 612, 617 (N.D. Ill. 2010)). The court therefore struck the new witnesses, some of

whom the disclosing party “likely [had] known … for years”—much like Anthony Gay had likely

known Plaintiff’s five new witnesses for years before his death. Id. at *5. The same holds true

here, and further discovery will not adequately cure the prejudice to the IDOC Defendants of such

untimely disclosures.

       9.      Third, Anthony Gay willfully failed to timely disclose these witnesses, who were

apparently all well-known to him during before discovery closed and before his passing. IDOC

Defendants understand the intervening developments caused by his passing, but the newly

disclosed witnesses are either family members or longtime prison associates—not new individuals

who came to learn information since discovery ended. Indeed, Plaintiff has made no suggestion

that the newly disclosed witness acquired their discoverable information since Anthony Gay’s

passing, either. Plaintiff could and should have disclosed these witnesses during discovery, and

Mr. Gay’s passing does not excuse their failure to do so. Given Anthony Gay’s likely knowledge

about the new witnesses before discovery ended, his willful failure to timely identify them cuts in

favor of striking the disclosures.

       10.     Finally, case law supports striking Plaintiff’s late disclosures, including a recent

decision in the Northern District of Illinois denying a very similar attempt by Plaintiff’s counsel

to belatedly disclose new witnesses following a plaintiff’s death. In Amor v. Cross, No. 18-CV-

2523 (N.D. Ill.), a civil-rights plaintiff, represented by one of the same law firms as Plaintiff’s

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counsel here, died after fact discovery closed but before trial. See id., Dkts. 88 (closing fact

discovery in 2020) and 192 (suggestion of death in 2023). During pretrial preparations, like

Plaintiff here, the substituted plaintiff disclosed several witnesses to fill perceived gaps in her case

following the prior plaintiff’s death. Id., Dkt. 220 (motion for leave to supplement Rule 26(a)

disclosures). Also like Plaintiff here, the new witnesses in Amor included a former IDOC prisoner

disclosed to discuss prison environments, plus witnesses to discuss the decedent’s post-prison life.

The defendants objected, arguing that (1) the new witnesses were well-known to the plaintiff and

his counsel before the decedent’s death, (2) the significant prejudice resulting from untimely

disclosures during trial preparations, (3) the plaintiff waited too long to disclose the witnesses, and

(4) the plaintiff’s bad faith in not disclosing the well-known witnesses sooner. The district court

denied the plaintiff’s request for leave to supplement the disclosures. Id., Dkt. 228.

       11.     Likewise, this Court previously struck untimely evidence similarly produced in the

midst of summary judgment briefing, much like Plaintiff’s untimely disclosures here. In Allied

World Specialty Ins. Co. v. SIU Physicians & Surgeons, Inc, No. 17-CV-3139 (C.D. Ill.), a party

attempted to use evidence not disclosed in its Rule 26 disclosures, or any supplements thereto, in

response to the opposing party’s summary judgment motion. Allied World, 2021 U.S. Dist. LEXIS

61536, *5-6 (C.D. Ill. Mar. 30, 2021) (Myerscough, J.). The opposing party moved to strike the

untimely evidence, which this Court granted as part of its summary judgment decision. This Court

found that Rule 37 mandated exclusion, in part because the non-disclosing party had no

opportunity to vet the untimely evidence during discovery, and was therefore confronting the

evidence for the first time at summary judgment. Id. at *10-11. This Court also found the

disclosure timeline problematic, and thus not substantially justified or harmless, because the

disclosing party could have notified the opposing party sooner that it planned to rely on new




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evidence. Id. at *11-12. Because the disclosure did not satisfy Rule 37’s standard, this Court

granted the motion to strike and excluded the evidence.

       12.     Plaintiff’s untimely disclosures here should meet the same fate as Amor, Allied

World, and Dunn. Fact discovery has long been closed, and Plaintiff cannot meet Rule 37’s

exacting standard for untimely disclosures. Here, like in Amor, the new witnesses were known to

Anthony Gay before his death, and Plaintiff’s untimely disclosures during summary judgment and

trial preparations will cause IDOC Defendants prejudice in ways that further discovery cannot

cure. The disclosures will also re-open an entire litigation cycle that has been closed. Nor are

Plaintiff’s disclosures limited to damages-related issues, given newly disclosed topics about Mr.

Gay’s incarceration and the conditions of his confinement. And much like Allied World, where

this Court granted a similar motion to strike, Plaintiff here could (and should) have raised the

disclosure issue sooner (like in briefing on her recent substitution motion), allowing the parties to

resolve the issue with more time to spare, and to perhaps mitigate prejudice to the IDOC

Defendants. See also Dunn, 2022 U.S. Dist. LEXIS 216 at *7-8 (rejecting an argument that re-

opening fact discovery can cure prejudice). Because she failed to do so, and cannot satisfy Rule

37, her five untimely disclosures should be stricken.

                                         CONCLUSION

       WHEREFORE, the IDOC Defendants respectfully request this Court strike Plaintiff’s

untimely supplemental witness disclosures served on September 30 and November 11, 2024, and

for any additional relief that this Court deems just and proper.




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Dated: November 25, 2024                     Respectfully submitted,

                                             /s/ Robert T. Shannon
                                             Robert T. Shannon
                                             Counsel for IDOC Defendants

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                                CERTIFICATE OF SERVICE

The undersigned certifies that on November 25, 2024, he electronically filed the foregoing
document with the Clerk of the Court for the United States District Court for the Central District
of Illinois using the CM/ECF system. Participants in the case who are registered CM/ECF users
will be served by the CM/ECF system.

                                               /s/ Robert T. Shannon




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